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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        KHN SOLUTIONS INC.,
                                   7                                                        Case No. 16-cv-00962-HSG
                                                       Plaintiff,
                                   8                                                        ORDER REGARDING APRIL 28, 2016
                                                v.                                          ORAL ARGUMENT
                                   9
                                        VERTISENSE INC.,                                    Re: Dkt. No. 30
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On April 25, 2016, the parties filed a joint letter informing the Court that the parties have

                                  14   agreed to have associates argue the pending motion to dismiss. Dkt. No. 30.

                                  15          The Court appreciates the parties’ proactive effort to provide opportunities for newer

                                  16   lawyers, and is happy to accommodate the request. The parties should keep in mind that the Court

                                  17   has carefully read and considered the parties’ briefs on the pending motion to dismiss. For this

                                  18   reason, as in all matters, the Court does not expect a presentation (via a slide deck or otherwise)

                                  19   that simply repeats the arguments in the briefs. Instead, counsel should focus the argument on

                                  20   clarifying and augmenting key points. The Court looks forward to Thursday’s hearing.

                                  21          IT IS SO ORDERED.

                                  22   Dated: April 27, 2016

                                  23                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  24                                                    United States District Judge
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